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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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DANA GROTTANO, N.D., A.R. and D.M.,                            :
individually and on behalf of all others similarly             :
situated,                                                      :
                                                               :
                                    Plaintiffs,                :
                                                               :           15-CV-9242 (RMB)
                          - against -                          :
                                                               :               ORDER
THE CITY OF NEW YORK, THE CITY OF                              :
NEW YORK DEPARTMENT OF CORRECTION :
COMMISSIONER JOSEPH PONTE,                                     :
CORRECTION OFFICER YOLANDA CAPERS, :
CAPTAIN ERICA MAYWEATHER,                                      :
CORRECTION OFFICER THOMASENA                                   :
GRAHAM and JOHN and JANE DOE                                   :
CORRECTION OFFICERS 1–25,                                      :
                                                               :
                                    Defendants.                :
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        The status teleconference currently scheduled for Monday, October 26, 2020 at 11:30

a.m. will be held on Monday, November 9, 2020 at 11:30 a.m. Dial-in instructions are as

follows:

        Teleconference Number: 1-877-336-1829

        Access Code: 6265989

        Interested parties and counsel should contact Chambers via email, at
        bermannysdchambers@nysd.uscourts.gov by Friday, November 6, 2020 noon, to obtain
        the security code needed to participate.



Dated: New York, New York
       October 21, 2020

                                                             __________________________
                                                               RICHARD M. BERMAN
                                                                       U.S.D.J.




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